                  Case 23-11131-TMH              Doc 657        Filed 11/01/23         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        )
    In re:                                              )    Chapter 11
                                                        )
    AMYRIS, INC., et al.,                               )    Case No. 23-11131 (TMH)
                                                        )
                             Debtors.1                  )    (Jointly Administered)
                                                        )
                                                        )    Hearing Date: November 21, 2023 at 11:00 a.m. (ET)
                                                        )    Objection Deadline: November 14, 2023 at 4:00 p.m. (ET)


             AMENDED2 NOTICE OF MOTION OF AD HOC CROSS-HOLDER GROUP
             FOR APPOINTMENT OF EXAMINER PURSUANT TO 11 U.S.C. § 1104(C)

             PLEASE TAKE NOTICE that, on November 1, 2023, the ad hoc group (as further

defined in the Motion, the “Ad Hoc Cross-Holder Group”), by and through its undersigned

counsel, filed the Motion of the Ad Hoc Cross-Holder Group for Appointment of Examiner

Pursuant to 11 U.S.C. § 1104(c) [Docket No. 651] (the “Motion”) with the United States

Bankruptcy Court for the District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing and filed with the Clerk of the Court, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801 on or before November 14, 2023 at 4:00 p.m. (prevailing Eastern

Time).

             PLEASE TAKE FURTHER NOTICE that, if any objections to the Motion are received,

the Motion and such objections shall be considered at a hearing before The Honorable Thomas M.

Horan, United States Bankruptcy Judge for the District of Delaware, at the Court, 824 North


1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris, Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
  The hearing was originally noticed for November 17, 2023 at 11:00 a.m. Please note the new hearing date of
November 21, 2023 at 11:00 a.m.
            Case 23-11131-TMH           Doc 657   Filed 11/01/23   Page 2 of 3




Market Street, 3rd Floor, Courtroom 7, Wilmington, Delaware 19801 on November 21, 2023 at

11:00 a.m. (prevailing Eastern Time).

      PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.




                           [Remainder of Page Intentionally Left Blank]




                                              2
            Case 23-11131-TMH   Doc 657   Filed 11/01/23   Page 3 of 3




Dated: November 1, 2023            WOMBLE BOND DICKINSON (US) LLP
Wilmington, Delaware
                                  /s/ Matthew P. Ward
                                  Matthew P. Ward (DE Bar No. 4471)
                                  Morgan L. Patterson (DE Bar No. 5388)
                                  1313 North Market Street, Suite 1200
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 252-4320
                                  Facsimile: (302) 252-4330
                                  Email: matthew.ward@wbd-us.com
                                  Email: morgan.patterson@wbd-us.com

                                  -and-

                                  ARENTFOX SCHIFF LLP
                                  Andrew I. Silfen
                                  Beth N. Brownstein
                                  1301 Avenue of the Americas, 42nd Floor
                                  New York, New York 10019
                                  Telephone: (212) 484-3900
                                  Facsimile: (212) 484-3990
                                  Email: andrew.silfen@afslaw.com
                                  Email: beth.brownstein@afslaw.com

                                  -and-

                                  STEARNS WEAVER MILLER WEISSLER
                                  ALHADEFF & SITTERSON, P.A.
                                  Eric J. Silver
                                  150 West Flagler Street, Suite 2200
                                  Miami, Florida 33130
                                  Telephone: (305) 789-4175
                                  Facsimile: (305) 789-2688
                                  Email: esilver@stearnsweaver.com

                                  Counsel to the Ad Hoc Cross-Holder Group




                                      3
